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            8                                 UNITED STATES DISTRICT COURT
            9                              NORTHERN DISTRICT OF CALIFORNIA
           10                                      SAN FRANCISCO DIVISION
           11    CHRISTOPHER JAMES, and SPENCER                CASE NO. 3:19-CV-06462-EMC
                 VERHINES, individually and on behalf of
           12    others similarly situated,                    [PROPOSED] ORDER
           13                        Plaintiffs,               Judge: Honorable Edward M. Chen
                                                               Action Filed: October 8, 2019
           14          v.                                      Trial Date: None Set
           15    UBER TECHNOLOGIES, INC.,
           16                        Defendant.
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Gibson, Dunn &
Crutcher LLP

                                        [PROPOSED] ORDER – CASE NO. 3:19-CV-06462-EMC
                      Case 3:19-cv-06462-EMC Document 184 Filed 11/16/21 Page 2 of 2


            1           Pending before the Court is the Parties’ Stipulated Request to Stay All Proceedings.
            2    PURSUANT TO STIPULATION, IT IS SO ORDERED that all proceedings in the above-referenced
            3    action are stayed while the Parties finalize and execute a proposed settlement agreement.
                         Court sets a Status Conference for February 8, 2022 at 2:30PM as control date. Joint Status
            4            Report due February 1, 2022.
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            9            November 16
                 DATED: ______________________, 2021                        _________________________________
                                                                            The Honorable Edward M. Chen
           10                                                               United States District Judge
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Gibson, Dunn &
Crutcher LLP                                                      1
                                          [PROPOSED] ORDER – CASE NO. 3:19-CV-06462-EMC
